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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS




 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 BRENTON D. BLISS,

 Defendant.                                          Case No. 07-cr-30180-DRH



                                       ORDER

 HERNDON, Chief Judge:

              Now before the Court is Defendant Bliss’ Motion for Temporary Bond

 for Purposes of Attending Memorial Service. (Doc. 31.) Defendant is requesting a

 temporary release from custody in order to attend the funeral services of his recently

 deceased father.    The Court has been advised that the Government opposes

 Defendant’s request and that the U.S. Marshal would also be opposed to any

 supervised transportation of Defendant for the purpose of a funeral. Unfortunately,

 the Court finds that allowing Defendant’s request would present an unwarranted

 security risk.   In addition, the Court finds that Defendant is not entitled to a

 temporary release from custody for the same reasons that necessitate Defendant’s

 current detention. Therefore, said Motion is DENIED. (Doc. 31.) The Court extends



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 his deepest sympathies to Defendant and his family at this difficult time.

             IT IS SO ORDERED.

             Signed this 29th day of April, 2008.



                                              /s/    DavidRHerndon
                                              Chief Judge
                                              United States District Court




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